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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

David J Rao
                                                   Plaintiff,
v.                                                              Case No.: 1:16−cv−08815
                                                                Honorable Milton I. Shadur
Board of Trustees University of Illinois, et al.
                                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 27, 2017:


        MINUTE entry before the Honorable Milton I. Shadur: Pursuant to the parties'
stipulation to dismiss [19], this case is dismissed with prejudice. The parties shall bear
their own costs and fees. Civil case terminated. Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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